                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                  )
                                          )      No. 2:11-cr-0003
       v.                                 )      Judge Sharp
                                          )
WILLIAM EARL McGUIRE, JR.                 )


                       POSITION OF THE GOVERNMENT
                 WITH RESPECT TO THE SENTENCING FACTORS

       The United States has no objection to the sentencing guideline calculations or to the

sentencing factors contained within the Presentence Investigation Report.

       Pursuant to U.S.S.G § 3E1.1(b), the United States moves the Court to apply the

three level reduction for acceptance of responsibility, as calculated in the PSR.

       The government recommends that the defendant be sentenced to 192 months

incarceration followed by 10 years supervised release, as agreed to by the parties in the

plea agreement, entered into under Rule 11(c)(1)(C), Federal Rules of Criminal

Procedure.

       The government does not intend to present any witnesses at the sentencing hearing.

                                                 Respectfully submitted,

                                                 JERRY E. MARTIN
                                                 United States Attorney for the
                                                 Middle District of Tennessee

                                                 By: /s/ William L. Deneke
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                                CERTIFICATE OF SERVICE
       I certify that a true and correct copy of the foregoing document was sent via the
Court’s electronic filing system to Michael Terry & Stephanie Gore, attorneys for the
defendant, and via internal courthouse mail to Adam Hirsch, United States Probation
Officer, this 31st day of January, 2013.

                                                        /s/ William L. Deneke
                                                        Assistant United States Attorney




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